         Case 2:23-cv-02159-CDS-MDC                    Document 33          Filed 11/14/24       Page 1 of 2



 1                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
 2

 3 Umbach Medical Group, PLLC, et al.,                               Case No. 2:23-cv-02159-CDS-MDC

 4                             Plaintiffs                        Order Denying Defendants’ Motion for
                                                                    Reconsideration and Granting
 5      v.                                                               Miscellaneous Relief

 6 Elevance Health Inc., et al.,
                                                                                  [ECF No. 28]
 7                             Defendants

 8

 9           Umbach Medical Group PLLC dba Blossom Medical Group, Thomas Umbach MD PC

10 dba Blossom, Umbach Medical Associates PLLC, Umbach Group Practice PLLC, Umbach and

11 Associates PLLC, Warm Springs Surgical Center LLC, and Umbach Surgical Group PLLC dba

12 Warm Springs Anesthesia (collectively, plaintiffs) bring this action to recover unpaid benefits

13 from defendants Elevance Health, Inc. and Rocky Mountain Hospital and Medical Service, Inc.

14 dba Anthem Blue Cross and Blue Shield (collectively, defendants).

15           Defendants move for this court to reconsider its September 30, 2024 order denying their

16 motion to dismiss and ordering that they produce for the plaintiffs (1) the contracts signed

17 between the defendants and the patients and (2) an accounting of which of the 30,000 listed

18 claims were paid directly to patients, and which were not by December 2, 2024. Defs.’ mot., ECF

19 No. 28. 1 This motion is denied, but miscellaneous relief is nonetheless granted.

20           Local Rule 59-1 states that “[a] party seeking reconsideration . . . must state with

21 particularity the points of law or fact that the court has overlooked or misunderstood.” LR 59-1.

22 Further, “[r]econsideration also may be appropriate if (1) there is newly discovered evidence

23 that was not available when the original motion or response was filed, (2) the court committed

24 clear error or the initial decision was manifestly unjust, or (3) there is an intervening change in

25 controlling law.” Id.

26

     1 This motion is fully briefed. See Pls.’ resp., ECF No. 30; Defs.’ reply, ECF No. 31.
         Case 2:23-cv-02159-CDS-MDC                  Document 33         Filed 11/14/24        Page 2 of 2




 1           Defendants’ motion argues that they are unable to collect the discovery required by the
 2 September 30 order by the December 2 deadline. ECF No. 28 at 5–6. They also argue that they

 3 are unable to search for claims without certain information—specifically redacted names,

 4 patient dates of birth, Anthem’s unique claim numbers and healthcare identification numbers

 5 for each patient—that plaintiffs have yet to provide. Id. I do not find that these constitute

 6 “points of . . . fact that the court has overlooked or misunderstood,” nor do I find that the order

 7 was manifestly unjust. See LR 59-1. Therefore, defendants’ motion is denied. 2

 8           However, I recognize that the information defendants must produce will take longer and
 9 require more information from plaintiffs than is possible to complete by the December 2, 2024

10 deadline. Considering this, I ORDER the following as miscellaneous relief:

11           A. Subject to a protective order that the parties must meet and confer upon, plaintiffs
12               must produce an unredacted list of patient names, patient dates of birth, Anthem’s
13               unique claim numbers and healthcare identification numbers for each patient by
14               December 2, 2024.
15           B. Defendants will have until Monday, February 17, 2024, to produce both (1) the
16               contracts signed between defendants and the patients and (2) an accounting of
17               which of the 30,000 listed claims were paid directly to patients, and which were not.
18           Defendants also have a pending motion for a pretrial conference. ECF No. 32. This has
19 been referred to Magistrate Judge Maximiliano D. Couvillier, III for resolution. However, should

20 the motion at ECF No. 32 be granted, the parties are ordered to meet and confer prior to the

21 conference to discuss and produce an updated discovery plan in accordance with this order.

22           Dated: November 14, 2024
23                                                     _________________________________
                                                       Cristina D. Silva
24                                                     United States District Judge
25
     2 Defendants also argue that plaintiffs should be required to turn over the assignment agreements signed
26
     with the patients. ECF No. 28 at 6. Because defendants did not challenge the existence of the assignment
     agreements or their contents in their motion to dismiss, I do not find that requiring plaintiffs to turn over
     these agreements is necessary at this time.
                                                           2
